       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 1 of 30                    FILED
                                                                                2018 Dec-21 PM 01:32
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


JASON HARRIS,            )
                         )
    Plaintiff,           )
                         )                    Civil Action Number
vs.                      )                    2:17-cv-01557-AKK
                         )
THE RAYMOND CORPORATION, )

    Defendant.           )


                          MEMORANDUM OPINION
      This products liability action arises from injuries Jason Harris sustained in

an accident while operating an electric pallet jack manufactured by The Raymond

Corporation (“Raymond”). Doc. 1-1. Harris contends that defects in the pallet

jack caused the accident, and he asserts a claim against Raymond under the

Alabama Extended Manufacturer’s Liability Doctrine (“AEMLD”). Before the

court are Raymond’s motion for summary judgment, doc. 30, and motion to

exclude the testimony of Harris’s expert, Charles E. Benedict, Ph.D., doc. 32. The

motions are fully briefed and ripe for review. See docs. 30, 32, 47, 48, 51, and 52.

After careful consideration of the briefs and the relevant law, the court finds that

the motion to exclude is due to be granted in part, and the motion for summary

judgment is due to be denied.
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 2 of 30



I.    STANDARD OF REVIEW

      Summary judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). “Rule 56(c) mandates the entry of summary judgment,

after adequate time for discovery and upon motion, against a party who fails to

make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.”

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The moving party bears the

initial burden of proving the absence of a genuine dispute of material fact. Id. at

323. The burden then shifts to the non-moving party, who is required to go

“beyond the pleadings” to establish that there is a “genuine issue for trial.” Id. at

324 (internal citations and quotation marks omitted). A dispute about a material

fact is “genuine” if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986).

      The court must construe the evidence and all reasonable inferences arising

from it in the light most favorable to the non-movant. Adickes v. S.H. Kress & Co.,

398 U.S. 144, 157 (1970). However, “mere conclusions and unsupported factual

allegations are legally insufficient to defeat a summary judgment motion.” Ellis v.

England, 432 F.3d 1321, 1326 (11th Cir. 2005) (citing Bald Mountain Park, Ltd. v.


                                         2
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 3 of 30



Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that a jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

II.   RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

      A.     The product at issue

      Harris sustained serious injuries in an accident while he was working as an

order picker at a Dollar General distribution center in Bessemer, Alabama. Docs.

38-3 at 9; 38-5 at 2. The accident involved a model 8400 electric pallet jack

manufactured by Raymond. Docs. 38-1 at 16; 38-6 at 23; 39 at 20-21. Pallet jacks

are used in warehouses to move inventory. Docs. 38-6 at 22. An operator may

stand and ride on the 8400 pallet jack when operating it, or walk beside the pallet

jack when picking up inventory. See doc. 34 at 25.

      The 8400 pallet jack has both mechanical and electrical components, and its

handle is equipped with controls to operate the pallet jack, including throttle twist

grips, which allow an operator to move the pallet jack forwards or backwards by

twisting the throttle. See docs. 34 at 27, 32, 44; 37 at 2; 38-1 at 10; 38-4 at 10.

The farther the operator twists the throttle, the faster the pallet jack travels. Doc.

34 at 44. Relevant to this case, the throttle assembly inside the pallet jack’s handle

includes a “roll pin,” also referred to as a “slotted spring pin,” that fits through


                                          3
        Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 4 of 30



small holes to hold the assembly together, and a “torsion spring” that restores the

throttle to a neutral position after the operator takes her hand off the throttle twist

grip. Docs. 37 at 3-9; 37-1 at 10; 38-1 at 13, 19-22, 24; 38-4 at 37, 38-6 at 35; 39

at 17; 47-18 at 2-3. When the throttle returns to neutral, the pallet jack will “plug,”

or coast, to a stop. Doc. 38-1 at 13. If the torsion spring fails to return the throttle

to a neutral position, the pallet jack can continue to move even after the operator

takes her hand off the twist grip. Docs. 38-1 at 14, 18, 53, 63; 38-6 at 34. To stop

the pallet jack, an operator can twist the throttle grip in the opposite direction the

pallet jack is moving, which is called “plugging” and is the normal way of braking.

Docs. 34 at 46, 48; 38-1 at 9-10, 17. Alternatively, an operator can stop the pallet

jack by pushing the handle down to a horizontal position, moving it up to a vertical

position, or use the emergency stop and reverse button. Docs. 34 at 31, 44, 48-49;

38-2 at 9; 37 at 2; 38-4 at 10; 38-6 at 24.

      The 8400 pallet jack is also equipped with a trademark feature Raymond

named CoastPRO that is designed to make it easier for an operator to use the pallet

jack to pick up merchandise. Docs. 34 at 55; 38-2 at 3-4. CoastPRO limits the

pallet jack to walking speed, and it allows the operator to walk beside the pallet

jack to pick up merchandise while moving the jack by pushing “jog trigger”

buttons on the ends of the handle or by twisting the throttle. Docs. 34 at 33, 55-56;

38-1 at 9; 38-4 at 16; 37 at 2; 38-6 at 28. Although the mechanical brakes are


                                              4
           Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 5 of 30



disengaged when the pallet jack is in CoastPRO mode, the operator can still stop

the pallet jack by pushing the handle up or down, hitting the emergency stop, or

“plugging” the throttle. Docs. 38-1 at 9; 38-2 at 9-10; 38-6 at 24; 34 at 55, 57.

       To engage CoastPRO, the operator must bring the pallet jack handle down to

a forty-five degree angle, and then either press one of the two CoastPRO buttons,

or push one of the jog trigger buttons.1 Docs. 34 at 27, 56; 38-1 at 11; 38-6 at 27.

The pallet jack beeps twice when CoastPRO mode is engaged initially. Doc. 34 at

56. Although the product’s manual and Dollar General’s rules warn operators to

bring the pallet jack to a complete stop before engaging CoastPRO, operators are

able to engage CoastPRO while the pallet jack is moving. Docs. 38-1 at 10-11; 34

at 56; 38-6 at 25-27.

       The Bessemer warehouse performs regular preventative maintenance on its

100 pallet jacks according to Raymond’s specifications. See doc. 47-12 at 25-26.

This includes taking the pallet jacks’ handles apart to inspect the components,

including the throttle assembly. Docs. 38-6 at 5, 11; 47-12 at 4-5, 25-26. Dollar

General also repairs the pallet jacks as needed, and obtains replacement parts from

an authorized Raymond dealer. See docs. 38-6 at 31, 38-39, 46; 47-12 at 26.

Pertinent here, maintenance records reveal that Dollar General’s employees

       1
         If the throttle is not in the neutral position when an operator pushes a jog trigger button,
then the pallet jack gives an error code and brings itself to a stop instead of engaging CoastPRO.
See docs. 38-1 at 12; 38-4 at 19.

                                                 5
        Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 6 of 30



replaced a broken handle and seat spring on the subject pallet jack three months

before the accident, then reattached a roll pin in the handle two days later. Docs.

35 at 1; 38-6 at 31.

      B.     The accident

      When Harris began his shift on the day of the accident, he performed the

required daily check to ensure the pallet jack was operating correctly. Doc. 38-3 at

6, 15-16. See also doc. 38-4 at 17. Harris did not encounter any issues with the

pallet jack during his daily check or before the accident. Doc. 38-3 at 18. While

working that day, just before the accident, Harris stopped the pallet jack, stepped

off it, brought the handle to a forty-five degree angle, and engaged CoastPRO.

Docs. 38-2 at 6, 14; 38-3 at 27. The unit beeped twice to confirm the CoastPRO

mode. Doc. 38-3 at 27. Harris stood to the side of the pallet jack, and then walked

to the front of it to pick up merchandise. Doc. 38-2 at 7. However, when Harris

turned back towards the pallet jack, he saw it coming towards him. Doc. 38-3 at

27. The accident pinned his left ankle against a rack, resulting in lacerations and a

severely broken ankle, which required six surgeries to reconstruct. Id. at 9-10.

      Dewayne Bowden, who witnessed the accident, testified that he saw Harris

get off the pallet jack and activate CoastPRO. Doc. 38-2 at 6. While Harris was

picking up merchandise, Bowden saw the pallet jack move forward, “[a]nd instead

of it going straight, it turned and pinned [Harris] against the pallet and the rail.”


                                         6
           Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 7 of 30



Doc. 38-2 at 5. Bowden stated that the pallet jack turned on its own without any

triggering action by Harris. Doc. 38-2 at 5-6, 16.

       Immediately after the accident, Ron Musser, a maintenance mechanic at the

warehouse, conducted a full inspection and tests on the pallet jack. Doc. 38-6 at

18-19, 24-29. Musser first tested how far the pallet jack could travel before

coasting to a stop in CoastPRO mode by “running [the pallet jack] full speed,

hitting the CoastPRO, and jumping off it.” Id. at 24-26. 2 Musser determined that

the subject pallet jack could travel approximately thirty-six feet before coasting to

a stop in CoastPRO mode. Id. at 25. In addition, “[a]fter extensive testing [with

the pallet jack], . . . the throttle stuck just enough for it to creep,” meaning that it

continued to move after it should have coasted to a stop. Id. at 27. Musser could

only get the throttle to stick and cause the unit to creep forward if the pallet jack

was moving when he engaged CoastPRO. Doc. 38-6 at 43.

       After conducting his tests, Musser disassembled the pallet jack’s handle to

fix the sticking throttle, and he found that the “roll pin had moved out [from its

holes] just a little bit, catching the plastic housing” of the throttle. Doc. 38-6 at 28.

Musser replaced the roll pin as a result. Id. at 35. In addition, Musser has

conducted other testing to determine why the pallet jacks’ throttle may stick, and

he found that “[s]ometimes the [torsion] spring gets weak” after a lot of use and

       2
          Musser guessed that Harris operated the pallet jack at full throttle when he jumped off it
prior to the accident based on how other operators used the pallet jacks. Doc. 38-6 at 25-26, 43.
                                                 7
          Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 8 of 30



would not return the throttle to the neutral position. See doc. 38-6 at 30, 33-34.

Consequently, Musser asked another employee to “order a bunch of springs.” Id.

at 33.

III.     ANALYSIS

         Harris asserts a claim against Raymond based on his contention that the

alleged defects in the design of the pallet jack caused the accident. Docs. 1; 47 at

30. “‘Under the AEMLD, a manufacturer has the duty to design and manufacture

a product that is reasonably safe for its intended purposes and uses. However, the

manufacturer of a product is not an insurer against all harm that might be caused

by the use of the product, and [. . .] [p]roof of an accident and injury alone is

insufficient to establish fault under the AEMLD.’” Verchot v. Gen. Motors Corp.,

812 So. 2d 296, 301-03 (Ala. 2001) (quoting Brooks v. Colonial Chevrolet-Buick,

Inc., 579 So. 2d 1328, 1331-32 (Ala. 1991)). To succeed on an AEMLD claim, a

plaintiff must prove that “the product at issue is sufficiently unsafe so as to render

it defective.” McMahon v. Yamaha Motor Corp., U.S.A., 95 So. 3d 769, 772 (Ala.

2012). “[T]his is done by proving that a safer, practical, alternative design was

available to the manufacturer at the time it manufactured the allegedly defective

product.” Id. (citation omitted).

         Due to the “‘complex and technical nature’” of many products, expert

testimony is ordinarily required to prove that a product is defective. Verchot, 812


                                          8
          Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 9 of 30



So. 2d at 303 (quoting Brooks, 579 So. 2d at 1332). The product in this case is an

electric pallet jack composed of mechanical and electrical components, which are

unfamiliar to most lay people. Therefore, a lay juror would need the assistance of

expert testimony to determine if the pallet jack is defective, and Harris must rely

on such testimony to prove his claim. See Brooks, 579 So. 2d at 1333-34 (finding

that proving a defect in an automobile brake system requires expert testimony).

Raymond maintains that Harris cannot prove his case because his expert’s

testimony is purportedly inadmissible.      Doc. 30 at 14-15.       Consequently,

Raymond’s motion for summary judgment is inextricably intertwined with its

motion to exclude the testimony of Dr. Benedict. As a result, the court will begin

by addressing the motion to exclude before turning to the summary judgment

motion.

      A.      Motion to Exclude Dr. Benedict’s Testimony

      Raymond challenges Dr. Benedict’s testimony under Rule 702 of the Federal

Rules of Evidence. Docs. 32; 51. District courts must perform a “gatekeeping”

function when determining the admissibility of expert evidence to ensure that

speculative, unreliable opinions do not reach the jury. Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579, 592-93 (1993); McClain v. Metabolife Int’l,

Inc., 401 F.3d 1233, 1237 (11th Cir. 2005); McCorvey v. Baxter Healthcare Corp.,

298 F.3d 1253, 1256 (11th Cir. 2002). However, “it is not the role of the district


                                        9
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 10 of 30



court to make ultimate conclusions as to the persuasiveness of the proffered

evidence. . . . Quite the contrary, ‘vigorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof are the traditional

and appropriate means of attacking shaky but admissible evidence.’” Quiet Tech.

DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003)

(quoting Daubert, 509 U.S. at 596) (alteration in original omitted). But, “nothing

in either Daubert or the Federal Rules of Evidence requires a district court to admit

opinion evidence that is connected to existing data only by the ipse dixit of the

expert.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 157 (1999).

      To determine whether expert evidence is admissible under Rule 702, courts

in this circuit must conduct a “‘rigorous three-part inquiry’ assessing whether:

      (1) the expert is qualified to testify competently regarding the matters
      he intends to address; (2) the methodology by which the expert
      reaches his conclusions is sufficiently reliable as determined by the
      sort of inquiry mandated in Daubert; and (3) the testimony assists the
      trier of fact through the application of scientific, technical, or
      specialized expertise, to understand the evidence or to determine a
      fact in issue.”
Hendrix ex rel. G.P. v. Evenflo Co., Inc., 609 F.3d 1183, 1194 (11th Cir. 2010)

(quoting United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004)). The

party offering the expert bears the burden of showing by a preponderance of the

evidence that the testimony satisfies each prong of the inquiry.        Id. (citation

omitted).


                                         10
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 11 of 30



      To satisfy prong one, “a party must show that the expert has sufficient

‘knowledge, skill, experience, training, or education’ to form a reliable opinion

about the relevant issue.” Harvey v. Novartis Pharm. Corp., 895 F. Supp. 2d 1206,

1209 (N.D. Ala. 2012) (quoting Fed. R. Evid. 702). See also Frazier, 387 F.3d at

1261. “Experience in a particular field is not enough to qualify an expert; the

expert must have experience with the issue before the court.” Harvey, 895 F.

Supp. 2d at 1209 (citation omitted). But, a witness does not need to be a “leading

authority” on the issue. Hendrix v. Evenflo Co., Inc., 255 F.R.D. 568, 578 (N.D.

Fla. 2009), aff’d sub nom Hendrix ex rel. G.P. v. Evenflo Co., Inc., 609 F.3d 1183

(citations omitted). Rather, “so long as the expert is at least minimally qualified,

gaps in his qualifications generally will not preclude admission of his testimony”

because such gaps go to the weight of the expert’s testimony rather than its

admissibility. Id. (citation omitted).

     To satisfy prong two, a party must show that “‘the reasoning or methodology

underlying the [expert’s] testimony is scientifically valid and [] that [the] reasoning

or methodology properly can be applied to the facts in issue.’”            Seamon v.

Remington Arms Co., LLC, 813 F.3d 983, 988 (11th Cir. 2016) (quoting Daubert,

509 U.S. at 592-93) (alteration in original omitted).        To determine if expert

testimony is reliable, a court may consider “(1) whether the expert’s theory can be

and has been tested; (2) whether the theory has been subjected to peer review and


                                          11
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 12 of 30



publication; (3) the known or potential rate of error of the particular [] technique;

and (4) whether the technique is generally accepted in the scientific community.”

McCorvey, 298 F.3d at 1256 (citing Daubert, 509 U.S. at 593-94). These Daubert

factors are not a “definitive checklist or test” for reliability, Daubert, 509 U.S. at

593, and the court has “substantial discretion in deciding how to test an expert’s

reliability . . . .” Rink v. Cheminova, Inc., 400 F.3d 1286, 1292 (11th Cir. 2005)

(quotation omitted). See also Kuhmo Tire Co., 526 U.S. at 152 (“[W]e conclude

that the trial judge had considerable leeway in deciding . . . how to go about

determining whether particular expert testimony is reliable.”).

     “The Daubert-type analysis should not be used to disfavor expert testimony

grounded in experience or engineering practice rather than in pure scientific

theory.” Rockhill-Anderson v. Deere & Co., 994 F. Supp. 2d 1224, 1230 (M.D.

Ala. 2014) (quotation omitted). However, “if the witness is relying solely or

primarily on experience, then the witness must explain how that experience leads

to the conclusion reached, why that experience is a sufficient basis for the opinion,

and how that experience is reliably applied to the facts.          The trial court’s

gatekeeping function requires more than simply ‘taking the expert’s word for it.’”

Frazier, 387 F.3d at 1261 (quotation, emphasis, and alteration in original omitted).

      Finally, to satisfy prong three, a party must show that the expert’s testimony

will assist the trier of fact determine a fact in issue. Hendrix, 609 F.3d at 1194.


                                         12
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 13 of 30



This prong “‘goes primarily to relevance.’” Seamon, 813 F.3d at 988 (quoting

Daubert, 509 U.S. at 591). To be considered helpful, the expert’s testimony must

“concern[] matters that are beyond the understanding of the average lay person.”

Frazier, 387 F.3d at 1262 (citing United States v. Rouco, 765 F.2d 983, 995 (11th

Cir. 1985)). See also Evans v. Mathis Funeral Home, Inc., 996 F.2d 266, 268

(11th Cir. 1993) (affirming the exclusion of expert testimony that was “within the

common knowledge of the jurors”).

      Raymond challenges Dr. Benedict’s testimony on all three prongs, arguing

that Dr. Benedict is not qualified, that his methodology is not sufficiently reliable,

and that his specific opinions will not assist the jury. See doc. 32.

             1.     Whether Dr. Benedict is qualified?

      Raymond contends that Dr. Benedict is not qualified to testify as an expert

regarding the purported defects in the pallet jack or a safer alternative design

because Dr. Benedict has no experience with electric pallet jacks “and little

experience with forklifts generally.” Doc. 32 at 2, 4, 13-15; 51 at 3. Indeed, Dr.

Benedict has never operated, designed, or manufactured an electric pallet jack, and

he admits that he is not an expert in the operation of an electric pallet jack. Doc.

38-4 at 5-6. Even so, Raymond’s argument is unavailing generally because it

improperly frames the issues before the court.




                                          13
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 14 of 30



       Harris asserts in his complaint that defects exist in the design of the pallet

jack and its component parts, including its torsion spring and roll pin. Doc. 1-1 at

9. See also doc. 47 at 14. As Harris points out, Dr. Benedict earned a doctorate in

mechanical engineering, and he conducted graduate research on “the dynamics and

kinematics of linkage and mechanical systems.” Docs. 38-5 at 13, 17; 47-14 at 10.

Dr. Benedict also has approximately fifty years of engineering experience, and he

has designed, developed, and manufactured products that utilize torsion springs

and spring pins, which are similar to the torsion spring and pin used in the subject

pallet jack. Docs. 38-5 at 17; 38-4 at 7; 47-14 at 10; 47-22 at 7-11. Put simply,

Dr. Benedict’s education and experience qualify him to testify about the allegedly

defective design of the pallet jack, see Hendrix, 255 F.R.D. at 578, and his lack of

experience with motorized pallet jacks is a matter for cross examination.

            2.     Whether Dr. Benedict used sufficiently reliable methodology to
                   reach his opinions?
     Next, Raymond attacks Dr. Benedict’s methodology as unreliable because

Dr. Benedict did not engage in a formal engineering process, perform any testing,

or inspect the pallet jack before forming his opinions.      Doc. 32 at 5, 18-20.

Whether an expert tests his or her theories is just one factor in determining if the

expert’s methodology is reliable. See, e.g., Kuhmo Tire Co., 526 U.S. at 150.

Moreover, an expert may properly rely on testing performed by another individual.

See Rockhill-Anderson, 994 F. Supp. 2d at 1237 (rejecting a reliability attack based

                                        14
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 15 of 30



on an expert’s failure to test his opinion because the expert “form[ed] his opinion

based on facts and data [] derived from the work of others”) (citing Gen. Motors

Corp. v. Jernigan, 883 So. 2d 646, 663 (Ala. 2003)).

     For his part, Harris notes that Dr. Benedict could not inspect or test the

handle or throttle assembly of the subject pallet jack because Dollar General did

not preserve them, and Harris argues that Dr. Benedict properly relied upon other

information available to him. Doc. 48 at 12-15. Indeed, even though Dr. Benedict

failed to test his theories or inspect the pallet jack, he reviewed and analyzed the

following evidence to develop his opinions for this case:          (1) the testimony

regarding Harris’s accident; (2) Raymond’s documents or drawings regarding the

roll pin, torsion spring, and redesigned torsion spring; and (3) Musser’s post-

accident investigation findings, including his finding that the throttle stuck after

several trials. See docs. 37-1 at 12; 38-4 at 5, 16, 26, 31; 38-5 at 2-9; 47-22 at 13-

17. In addition, Dr. Benedict contends that he did not need to perform any of his

own testing because “[t]he torsion spring and [roll] pin components are ‘simple’

components used by engineers in linkage and machine systems,” and analysis of

those components does not involve “new or evolving scientific principles,” but

only “application of long-standing and accepted principles of physics,

mathematics, engineering, kinematics, and dynamics.” Doc. 47-22 at 11-12.




                                         15
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 16 of 30



     Based on this record, Dr. Benedict reached his opinions regarding the pallet

jack’s torsion spring and roll pin by applying his education and experience with

mechanical systems to the tests performed by Musser, Raymond’s design and re-

design of the torsion spring, and the circumstances of Harris’s accident. In other

words, his opinions are not simply an ipse dixit assessment. As a result, the court

finds that Dr. Benedict’s failure to test his opinions or inspect a pallet jack does not

render all of his opinions inadmissible. Instead, those failures impact the weight, if

any, a jury may assign his opinions.

             3.     Whether Dr. Benedict’s specific opinions will assist the jury?

     The court turns next to Raymond’s challenges to Dr. Benedict’s specific

opinions, and, in particular, whether these opinions would aid the trier of fact.

                    a.     opinion regarding Harris’s operation of the pallet jack

      Raymond challenges Dr. Benedict’s opinion that “Harris operated the pallet

[jack] in accordance with the operating instructions in the operator and owner’s

manuals,” docs. 38-5 at 9; 38-4 at 21, arguing that Dr. Benedict is not an expert on

motorized pallet jack operation and has never seen or operated the product. Doc.

32 at 5. But, one does not need to see or operate a product to opine on whether the

operator’s testimony is consistent with the instructions in the owner’s manual.

Still, a lay juror can easily compare the pallet jack’s operating instructions with

testimony regarding the accident to determine if Harris operated the pallet jack in


                                          16
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 17 of 30



accordance with the instructions. Consequently, Dr. Benedict’s opinion on this

point will not assist the jury, and it is inadmissible under Rule 702. See Frazier,

387 F.3d at 1262; City of Tuscaloosa v. Hacros Chem., Inc., 158 F.3d 548, 565

(11th Cir. 1998) (finding that the court properly excluded an expert’s testimony

when “the trier of fact is entirely capable of determining whether or not to draw

[the expert’s] conclusions without any technical assistance from [the expert]”).

                    b.    accident reconstruction opinions
      Dr. Benedict opines also that there are two possible ways that the pallet jack

could have started moving without Harris’s knowledge after Harris brought it to a

complete stop. Docs. 38-4 at 23-24; 47-22 at 17. The first scenario involves

Harris stopping the pallet jack by pushing the handle up or down, and then

engaging CoastPRO while the throttle was stuck in a non-neutral position. Docs.

38-4 at 23, 25-26; 47-22 at 17. Alternatively, the second scenario involves Harris

bringing the pallet jack to stop by plugging it, stepping off the pallet jack, engaging

CoastPRO, and then twisting the throttle “a little bit” after engaging CoastPRO.

Docs. 38-4 at 23-25, 27; 47-22 at 17.          Raymond argues these opinions are

inadmissible because Dr. Benedict did not actually perform any accident

reconstruction, that his opinions are inconsistent with Harris’s testimony, and that

the first proposed scenario could not have occurred because the pallet jack would




                                          17
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 18 of 30



have given an error code and shut down if the throttle was stuck in a non-neutral

position when Harris engaged CoastPRO mode. Docs. 32 at 7; 51 at 6, n.1.

      Dr. Benedict concedes that he did not test his proposed accident scenarios

and does not “have the information to actually confirm that [his first scenario

regarding the accident] can really happen.”     Doc. 38-4 at 23, 26.     Still, Dr.

Benedict asserts that he could reach his opinion based on the witness accounts, the

manuals for the pallet jack, and his own “extensive electrical and mechanical

engineering experience regarding how the subject pallet jack operated from an

electrical engineering, mechanical engineering, and accident reconstruction

standpoint . . . .” Doc. 47-22 at 17. In addition, contrary to Raymond’s contention

about the error code and the pallet jack shutting down, Raymond’s corporate

representative, Robert Kerila, testified that when the throttle is in a non-neutral

position, then the pallet jack will give an error code and shut down only if an

operator engages CoastPRO mode by hitting one of the jog triggers. Doc. 38-1 at

12-13. He did not testify that the pallet jack will shut down if an operator pushes

one of the CoastPRO buttons. See id. In fact, Kerila indicated that an operator

could engage CoastPRO mode when the throttle is in a non-neutral position by

pushing one of the CoastPRO buttons. See id. at 36. Thus, the accident could have

occurred in accordance with Dr. Benedict’s first proposed scenario.




                                        18
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 19 of 30



      As for the second proposed scenario, although Dr. Benedict acknowledges

that it is inconsistent with Harris’s sworn testimony that he did not turn the throttle

after switching the pallet jack to CoastPRO mode, see doc. 38-4 at 25, 27, that

discrepancy goes to the weight of Dr. Benedict’s opinion rather than its

admissibility. See Daugharty v. F.D.I.C., 979 F. Supp. 2d 1353, 1358 (M.D. Ga.

2013) (citation omitted). Accordingly, based on the evidence before the court and

Dr. Benedict’s explanation of how he formed his opinions, Dr. Benedict’s accident

reconstruction opinions are admissible under Rule 702, and Raymond’s arguments

are matters for cross-examination.

                    c.     opinions regarding the roll pin design
      Dr. Benedict criticizes the design of the roll pin because it dislodged from its

hole in the throttle assembly, which caused it to catch the plastic housing and

interfere with the ability of the throttle to return to a neutral position. See docs. 38-

4 at 11, 13, 30; 38-5 at 9; 47-22 at 15. According to Dr. Benedict, a properly

designed roll pin would have prevented this scenario, see doc. 38-4 at 30, and,

therefore, he opines that this defective design caused Harris’s accident, id. at 10.

      Raymond argues these opinions are inadmissible because Dr. Benedict

(1) does not know if the roll pin was in the same condition as when it left

Raymond’s control, (2) did not test his opinion or his proposed alternative design,

and (3) is unfamiliar with the allegedly defectively designed roll pin in the pallet


                                           19
           Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 20 of 30



jack. Doc. 32 at 8-9. Many of Raymond’s points are well-taken: Dr. Benedict did

not know that the roll pin was “peened,” or staked into place, he has not seen a

picture of the roll pin used in the 8400 pallet jack,3 and he could not say if Dollar

General maintenance employees had replaced the roll pin,4 or if those employees

properly reattached the pin when they repaired the pallet jack a few months before

the accident. Doc. 38-4 at 11-13.

       However, Dr. Benedict has used and designed roll pins for other

applications, and he is familiar with how roll pins work based on his understanding

of physics and mechanical engineering. Docs. 38-4 at 11; 47-22 at 5-6, 15. Dr.

Benedict explains that slotted spring pins, such as the roll pin in the pallet jack, are

simply pieces of metal “rolled into a tube” with the edges close together so the pin

can be compressed to fit tightly into a small hole “such that the compression force

between the hole and the spring pin causes the pin to press outward on the hole” to

hold the pin in place. Docs. 47-22 at 6, 15; 38-4 at 30. Based on his experience,

Dr. Benedict opines that a slotted spring pin may weaken over time, which would

allow the pin and the parts it holds together to move, as Musser observed in his

post-accident testing of the pallet jack. Id. at 15-16. Therefore, Dr. Benedict states



       3
           No drawings of the roll pin exist. Doc. 47-19 at 2.
       4
         Raymond’s arguments regarding whether the roll pin was substantially altered prior to
the accident are addressed in Part III(B)(1), infra.
                                                 20
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 21 of 30



that a slotted spring pin, such as the roll pin at issue, is “not ideally suited for long

term use on components subject to torque loads.” See id. at 15.

      Also, Dr. Benedict relied on his understanding of spring pins and Musser’s

test results to opine that a solid press fit pin secured with Loctite adhesive is a

feasible alternative design that would have prevented the roll pin from moving out

of position to interfere with the movement of the throttle. Doc. 38-5 at 10. In

addition, Dr. Benedict based his proposed alternative design on his experience

designing machines or products that utilize similar pins. Doc. 47-22 at 7-10.

      Based on this record, Dr. Benedict’s opinions about the roll pin’s design are

sufficiently reliable, and Raymond’s criticisms of Dr. Benedict’s opinions are

matters for cross-examination. See Daubert, 509 U.S. at 596 (“[V]igorous cross-

examination, presentation of contrary evidence, and careful instruction on the

burden of proof are the traditional and appropriate means of attacking shaky but

admissible evidence.”).

                    d.     opinions regarding the torsion spring design
      Next, Raymond challenges Dr. Benedict’s opinions about the torsion spring

design. Doc. 32 at 9-10, 17-20. According to Dr. Benedict, the torsion spring in

the pallet jack was defectively designed because it did not maintain the force

needed to return the throttle to a neutral position. Doc. 38-5 at 9-10. Dr. Benedict

contends that Raymond should have heat-treated the torsion spring so that it would


                                           21
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 22 of 30



retain the force required to consistently return the throttle to a neutral position, and

he opines that a heat treated spring could have prevented the accident. Docs. 38-4

at 31-33; 38-5 at 10; 37-1 at 12. To formulate his opinion, Dr. Benedict relied in

part on documents regarding Raymond’s re-design of the torsion spring. Doc. 38-5

at 3, 7-8. Specifically, Raymond redesigned the pallet jack’s torsion spring in

2013 based on warranty reports regarding broken springs, or spring failures, and it

began heat treating the torsion springs for its pallet jacks. Docs. 38-5 at 8; 47-10 at

2. Dr. Benedict contends that Raymond’s documents regarding the redesign show

that the original torsion springs were failing, and that he did not need to do any

testing to understand that Raymond heat treated the redesigned springs so they

would last longer. Doc. 47-22 at 16.

      In response to one of Raymond’s attacks to his opinion, Dr. Benedict admits

that the redesigned torsion spring and the original spring have identical spring

constants, or “K values,” which, in layman’s terms, is a measure of the stiffness or

strength of the spring. See docs. 38-4 at 32; 47-22 at 13. However, Dr. Benedict

testified that a heat treated spring will not weaken over time, which is why “you

really need to have [a torsion spring] that’s heat treated . . . .” Doc. 38-4 at 31. See

also doc. 47-22 at 14-15. Dr. Benedict added that based on Musser’s post-accident

findings that the pallet jack’s throttle had an intermittent problem with sticking, he

believes that a heat treated torsion spring could have overcome the problem and


                                          22
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 23 of 30



returned the throttle to neutral even if the roll pin moved out of place a little. Docs.

38-4 at 32, 34. Therefore, he opines that the throttle would have returned to a

neutral position and the accident would not have occurred if Raymond used a heat

treated torsion spring in the subject pallet jack. See doc. 38-5 at 10.

      Although Raymond admits that it redesigned its torsion spring and began

heat treating the springs after reports of spring failures, it challenges Dr. Benedict’s

opinions regarding the torsion spring, arguing that Dr. Benedict does not know if

the pallet jack’s throttle contained the original or the redesigned spring, citing

maintenance records showing that Dollar General replaced a “broken seat spring”

in the months before the accident. Doc. 32 at 9, 17-19. This contention is

unavailing because, based on the records, the seat spring is a different component

than the torsion spring. See docs. 47-16 at 2-4; 47-18 at 2-3. Consequently, the

maintenance records do not suggest that Dollar General replaced the torsion spring

before the accident. In addition, Raymond’s expert testified that the torsion spring

would probably last longer than the four years the pallet jack had been in

operation, which suggests the pallet jack contained the original torsion spring.

Doc. 47-15 at 35.       In light of this evidence, and based on Dr. Benedict’s

explanations about how he reached his opinion, the court finds that Dr. Benedict’s

opinions regarding the torsion spring’s design are sufficiently reliable to be

admissible under Rule 702.


                                          23
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 24 of 30



                   e.     opinions regarding Raymond’s failure to recall the
                          torsion spring
       Dr. Benedict opines next that Raymond should have recalled the allegedly

defective torsion spring and that such a recall could have prevented Harris’s

accident and injury. Doc. 38-5 at 10. Raymond argues that these opinions are

inadmissible because Alabama law does not recognize a duty to recall and Harris

does not make “any such allegation or claim in his Complaint.” Doc. 32 at 10-11,

20-21. The court agrees. Because there is no duty to recall, see Lampley v.

Bridgestone Firestone, Inc., 1992 WL 12666661, at *1 (M.D. Ala. Mar. 31, 1992)

(citation omitted), and Harris is not pursuing a failure-to-recall claim, doc. 48 at

25, Dr. Benedict’s opinions regarding a recall are irrelevant and will not assist the

jury to determine a fact in issue. As a result, Dr. Benedict’s recall opinions are

inadmissible under Rule 702, and, in fact, would also be inadmissible under Rule

403 as unduly prejudicial.

                   f.     Raymond should have equipped the pallet jack with an
                          audible alarm
     Finally, Raymond challenges the admissibility of Dr. Benedict’s opinion that

it should have equipped its pallet jacks with “audible alarms that operated when the

motorized pallet [jack] was moving in CoastPRO mode” to warn operators about

“unintended movement of the pallet [jack].” Doc. 32 at 11-12, 16. See also docs.

38-5 at 11; 38-4 at 38. Dr. Benedict admits that he did no research about the use of

audible alarms in a warehouse, and that there are potential downsides to having
                                         24
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 25 of 30



audible alarms in a warehouse setting where multiple alarms sounding at once can

cause confusion. Doc. 38-4 at 39. Moreover, a juror’s common sense could tell

her that an audible alarm may have alerted Harris that the pallet jack was moving,

and “matters of common sense typically do not require or allow for expert

testimony.” Rosenfeld v. Oceania Cruises, Inc., 682 F.3d 1320, 1331 (11th Cir.

2012) (Tjoflat, J., dissenting) (citing Evans v. Mathis Funeral Home, Inc., 996 F.2d

266, 268 (11th Cir. 1993)). As a result, this opinion will not assist the trier of fact

and is inadmissible under Rule 702.

      B.     Motion for Summary Judgment

      Raymond argues that it is entitled to summary judgment because (1) Harris

cannot prove the existence of a defect or that the alleged defect caused his injuries

without expert testimony, (2) Harris cannot prove the pallet jack was substantially

unaltered, and (3) Harris’s own negligence contributed to the accident. Doc. 30.

As discussed above, Harris has introduced admissible expert testimony regarding

defects in the pallet jack’s roll pin and torsion spring that allegedly caused his

accident. See Section III(A)(3)(c)-(d), supra. Consequently, Raymond is not

entitled to summary judgment based on an absence of admissible expert testimony.

As explained below, Raymond is also not due to prevail on its other two

arguments.




                                          25
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 26 of 30



             1.     Whether the pallet jack was substantially unaltered?

      Raymond argues that Harris’s claim fails because he cannot prove the pallet

jack was “substantially unaltered” between the time it left Raymond’s control and

the accident. Docs. 30 at 10-13; 52 at 2-5. To prevail on his AEMLD claim,

Harris bears the burden of proving that the pallet jack “was substantially unaltered

when used by him . . . .” Verchot, 812 So. 2d at 301 (quoting Brooks, 579 So. 2d

at 1331-21) (emphasis in original omitted).         “However, the mere fact that a

product has been altered or modified does not necessarily relieve the manufacturer

[] of liability,” Sears, Roebuck & Co. v. Harris, 630 So. 2d 1018, 1027 (Ala. 1993)

(citation omitted), and “a manufacturer remains liable if an alteration or change is

foreseeable,” Clarke Indus., Inc. v. Home Indemn. Co., 591 So. 2d 458, 462 (Ala.

1991) (citing Beloit Corp. v. Harrell, 339 So. 2d 992 (Ala. 1976)).

      Raymond asserts that Dollar General’s maintenance records, which show

that the warehouse replaced the handle and a spring for the pallet jack before the

accident, prove that the pallet jack was not substantially unaltered. Doc. 30 at 11-

13.   Indeed, as discussed above, maintenance records establish that a Dollar

General employee replaced a broken handle and a seat spring on the pallet jack a

few months before the accident. See doc. 35 at 1. However, Musser testified that

the broken handle the employee replaced was “[t]he little grab handle” on the

outside of the throttle assembly, i.e., a throttle twist grip, and not the entire handle


                                          26
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 27 of 30



with the throttle assembly itself. Doc. 38-6 at 17. Musser’s testimony is supported

by the work order related to the repair. See doc. 47-20 at 2. Similarly, the records

reveal that an employee replaced a “seat spring” in the pallet jack—not the torsion

spring at issue. See docs. 47-16 at 3-4; 47-18 at 2-3. Thus, the repair records belie

Raymond’s contention that the pallet jack was substantially altered.

      Next, Raymond points to evidence of Dollar General’s quarterly

preventative maintenance to argue that Harris cannot prove the pallet jack was

substantially unaltered. Doc. 30 at 11. The quarterly maintenance includes taking

the pallet jack’s handle apart to inspect its components. Doc. 38-6 at 58. Dollar

General’s maintenance records, however, do not reflect that either the pallet jack’s

throttle assembly or any of its component parts were replaced prior to the accident.

See doc. 35 at 1. In addition, Raymond’s expert testified that the “torsion spring

would probably [last] longer than the time the [pallet jack] had been in operation.”

Doc. 47-15 at 35. This evidence belies Raymond’s assertion that Harris cannot

show that the pallet jack was substantially unaltered.

      Moreover, the record shows that Dollar General’s mechanics utilize

maintenance repair manuals provided by Raymond. See docs. 47-12 at 25-26; doc.

38-1 at 32. Providing those manuals to owners of its pallet jacks indicates that

Raymond expects and could reasonably foresee that they would perform repairs on

the pallet jacks. Accordingly, evidence that a Dollar General mechanic reattached


                                         27
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 28 of 30



the throttle assembly’s roll pin, see doc. 35 at 1, does not prove that the pallet jack

was substantially altered at the time of the accident. See Clarke Indus., Inc. v.

Home Indemn. Co., 591 So. 2d at 462.

      Based on this record, Raymond has not established that Harris cannot prove

that the pallet jack was substantially unaltered at the time of the accident. Rather,

viewing the evidence in the light most favorable to Harris, a genuine issue of

material fact exists on this issue.

             2.     Whether Harris was contributorily negligent as a matter of law?

      Raymond argues also that Harris’s own negligence contributed to the

accident.   Docs. 30 at 16-18; 52 at 6-10.       Under Alabama law, a plaintiff’s

contributory negligence precludes recovery for an AEMLD claim. McMahon, 95

So. 3d at 773 (citing Hannah v. Gregg, Bland & Berry, Inc., 840 So. 2d 839, 860

(Ala. 2002)).     “A plaintiff is contributorily negligent in handling a defective

product when he or she fails to use reasonable care with regard to that product.”

Haisten v. Kubota Corp., 648 So. 2d 561, 565 (Ala. 1994). “The question of

contributory negligence is normally one for the jury. However, where the facts are

such that all reasonable persons must reach the same conclusion, contributory

negligence may be found as a matter of law.” Hannah, 840 So. 2d at 860 (citation

omitted). “To establish contributory negligence as a matter of law, a defendant

seeking summary judgment must show that the plaintiff put himself in danger’s


                                          28
           Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 29 of 30



way and that the plaintiff had a conscious appreciation of the danger at the moment

the incident occurred.” Id. (citation omitted). The defendant must do more than

establish that “the plaintiff failed to exercise reasonable care;” the defendant must

also “establish by undisputed evidence a plaintiff’s conscious appreciation of

danger.” Hannah, 840 So. 2d at 861 (citing H.R.H. Metals, Inc. v. Miller, 833 So.

2d 18 (Ala. 2002) (distinguishing the proof required to establish contributory

negligence as a matter of law from the jury’s consideration of contributory

negligence). See also Tell v. Terex Corp., 962 So. 2d 174, 180 (Ala. 2007) (“The

evidentiary showing required to obtain a summary judgment on the basis of []

contributory negligence is very demanding.”).

       Raymond argues that Harris was negligent because he violated safety rules

by (1) walking in front on the pallet jack, rather than beside it, with CoastPRO

engaged; (2) not paying careful attention to the pallet jack when he was picking his

order immediately before the accident; and (3) not leaving enough space to prevent

him from being trapped by the pallet jack and nearby objects. Doc. 30 at 17-18.

See also doc. 38-4 at 23.5 But, even if Harris violated safety rules, that is not

sufficient to establish that he had a conscious appreciation of danger. Harris

testified that he brought the pallet jack to a complete stop before he placed it in

       5
         Harris’s contention that the contributory negligence issue is “limited to evidence of
whether [Harris] misused the throttle handle to contribute to its sticking,” doc. 47 at 32
(emphasis in original omitted), misses the mark. The product at issue is the pallet jack as a
whole, and evidence regarding Harris’s operation of the pallet jack is relevant.
                                             29
       Case 2:17-cv-01557-AKK Document 53 Filed 12/21/18 Page 30 of 30



CoastPRO mode and walked to the front of it to pick up merchandise, and a co-

worker confirmed that Harris stopped the pallet jack before the accident. Docs. 38-

2 at 14; 38-3 at 27. In addition, Raymond’s own expert admitted that a pallet jack

operator would not expect a pallet jack in CoastPRO mode to move forward on its

own and that an operator could walk in front of a pallet jack if the unit was

completely stopped. Doc. 47-15 at 16, 40. Based on this record, Raymond has not

established that Harris consciously appreciated the danger he faced at the moment

of the accident. As a result, the issue of contributory negligence is for a jury.

IV.   CONCLUSION

      For the reasons explained above, Raymond’s motion to exclude the expert

testimony of Charles E. Benedict, Ph.D., doc. 32, is due to be granted in part.

Because questions of material fact exist regarding Harris’s AEMLD claim,

Raymond’s motion for summary judgment, doc. 30, is due to be denied.                A

separate order will be entered.

      DONE the 21st day of December, 2018.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE




                                          30
